                 IN THE UNITED STATES DISTRICT COURT FOR
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

SOUTHWEST KEY PROGRAMS,                     §   CIVIL ACTION
INC.,                                       §   NO. 4:18-CV-03289
                                            §
              Plaintiffs                    §
                                            §
                                            §
v.                                          §
                                            §
                                            §
CITY    OF   HOUSTON,                       §
                                            §
                                            §
                 Defendant.                 §


             BUSINESS RECORDS         AFFIDAVITOF BOB OAKES
STATE OF TEXAS

COUNTY OF HARRIS

     Before me, the undersigned authority, on this day personally appeared Bob
Oakes who, being by me duly sworn, deposed as follows:

       "My name is Bob Oakes, I am over twenty-one (21) years of age, of
       sound mind, capable of making this affidavit, and personally
       acquaintedwith the facts herein stated and they are true and correct: I
       am a Deputy Assistant Director of the Houston Permitting Center,
       Houston Public Works department ("HPC") for the City of Houston,
       Texas, ("City"), and I am familiar with the manner in which its records
       are created and maintained by virtue of my duties and responsibilities.
       As such, I am the custodian of records for the Houston Permitting
       Center.

       Attached as Exhibit 1 to the City of Houston's Motion to Dismiss
       Under Rule 12(b)(1) ("COH MTD") is Occupancy Name Change
       Application submitted by SouthwesternKey Programs, Inc. ("SWK"),
       dated April 23, 2018. Attached as Exhibit 2 to the COH MTD is
       SWK's Certificate of Occupancy dated June 8, 2018. Attached as
       Exhibit 3 to the COH MTD is a June 26, 2018 letter from SWK.
        Attached as Exhibit 4 to the COH MTD is a letter from the City of
        Houston dated August 3, 2018. Attached as Exhibit 5 to the COH
        MTD is a letter from the City of Houston dated August 10, 2018.
        Attached as Exhibit 6 to the COH MTD is a letter from the City of
        Houston dated August 14, 2018. Attached as Exhibit 7 to the COH
        MTD is a letter from the City of Houston dated August 16, 2018.
        Attached as Exhibit 8 to the COH MTD is a letter from SWK dated
        June 27, 2018. Attached as Exhibit 9 to the COH MTD is a letter from
        SWK dated August 10, 2018.

        The City keeps these records in the regular course of its business
        activities for the City which is a municipality of the State of Texas. It is
        the regular practice of the City to make these types of records at or near
        the time of each act, event, condition, opinion, analysis, or diagnosis set
        forth in the records. It is the regular practice of the City for this type of
        record to be made and/or maintained by, or from information
        transmitted by, persons with knowledge of the matters set forth in the
        records. It is the regular business practice of the City to keep these types
        of records in the course of the City's regularly conductedactivities. The
        records attached hereto are the originals or exact duplicates of the
        originals."

        All statementsof fact contained    er   n   are   true and correct and are within
my personalknowledge.


                                           Bo   Oakes - Custodian of Records for the
                                           City of Houston Permitting Center

        Subscribed and sworn to before me, the undersignedauthority, appeared Bob

Oakes

on   November 16, 2018, in Houston, Harris County, Texas.
